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 8                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 9                                          AT SEATTLE

10
     UNITED STATES OF AMERICA,
11
                            Plaintiff,
12                                                                CASE NO. MJ 10-294
            v.
13
                                                                  DETENTION ORDER
     MEINARDO ARAGON-FLORES
14

15                          Defendant.
16

17   Offense charged:

18          Alien, previously arrested and deported from United States, found again in United States after

19          knowingly and voluntarily re-entering, without express consent of Department of Homeland

20          Security.

21   Date of Detention Hearing: July 8, 2010

22          The court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and based

23   upon the factual findings and statement of reasons for detention hereafter set forth, finds that no

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     DETENTION ORDER - 1
26   18 U.S.C. § 3142(i)
            Case 2:10-mj-00294-JLW Document 7 Filed 07/09/10 Page 2 of 3



 1   condition or combination of conditions which defendant can meet will reasonably assure the

 2   appearance of defendant as required and the safety of any other person and the community.

 3                FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 4          (1)     Defendant is reportedly a citizen of Mexico.

 5          (2)     The United States alleges that his presence in this country is illegal. There is an

 6                  immigration detainer pending against him. The issue of detention in this case is

 7                  therefore essentially moot.

 8          (3)     Defendant and his counsel offered nothing in opposition to the entry of an order of

 9                  detention.

10          (4)     Upon advice of counsel, defendant declined to be interviewed by this court’s pretrial

11                  services officer. There is therefore limited information available about him.

12          (5)     Defendant was convicted in Oregon in 1993 for delivery of a controlled substance II,

13                  and sentenced to50 days of imprisonment. He was also convicted in Arizona in 2002

14                  for Illegal Entry, and sentenced to time served.

15   It is therefore ORDERED:

16          (1)     Defendant shall be detained pending trial and committed to the custody of the

17                  Attorney General for confinement in a corrections facility separate, to the extent

18                  practicable, from persons awaiting or serving sentences or being held in custody

19                  pending appeal;

20          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

21                  counsel;

22          (3)     On order of a court of the United States or on request of an attorney for the

23                  Government, the person in charge of the corrections facility in which defendant is

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     DETENTION ORDER - 2
26   18 U.S.C. § 3142(i)
          Case 2:10-mj-00294-JLW Document 7 Filed 07/09/10 Page 3 of 3



 1               confined shall deliver the defendant to a United States Marshal for the purpose of an

 2               appearance in connection with a court proceeding; and

 3        (4)    The clerk shall direct copies of this order to counsel for the United States, to counsel

 4               for the defendant, to the United States Marshal, and to the United States Pretrial

 5               Services Officer.




                                                       A
 6        DATED this 8th day of July, 2010.

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 8                                                     John L. Weinberg
                                                       United States Magistrate Judge
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     DETENTION ORDER - 3
26   18 U.S.C. § 3142(i)
